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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

ALAN THOMAS OMORI and JOHN DOE,
individually and on behalf of all others similarly
situated,                                            No. 1:20-cv-11021-NMG

                                   Plaintiffs,       JURY TRIAL DEMANDED

        v.

BRANDEIS UNIVERSITY,

                                   Defendant.



                       CONSOLIDATED CLASS ACTION COMPLAINT




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         Plaintiffs, ALAN THOMAS OMORI and JOHN DOE, individually and on behalf of all

others similarly situated, for their Consolidated Class Action Complaint against Defendant

Brandeis University (“Brandeis”), based upon personal knowledge as to their own actions and

based upon the investigation of counsel regarding all other matters, complain as follows:

                                  I.      NATURE OF ACTION

         1.       This Consolidated Class Action Complaint comes during a time of hardship for so

many Americans, with each day bringing different news regarding the novel coronavirus

COVID-19. Social distancing, shelter-in-place orders, and efforts to ‘flatten the curve’ prompted

colleges and universities across the country to shut down their campuses, evict students from

campus residence halls, and switch to online “distance” learning.

         2.       Despite sending students home and closing its campuses, Defendant continues to

charge for and/or retain tuition and fees as if nothing has changed, reaping the financial benefit

of millions of dollars from students. Defendant does so despite students’ complete inability to

continue school as normal, occupy campus buildings and dormitories, or avail themselves of

school programs and events. So while students enrolled and paid Defendant for a comprehensive

in-person academic experience, Defendant instead offers Plaintiffs and Class Members

something different: a remote, online experience presented by Google or Zoom, void of face-to-

face faculty and peer interaction, separated from program resources, and barred from facilities

vital to study. Plaintiffs and Class Members did not bargain for such an experience.

         3.       While some colleges and universities have promised refunds and/or discounts,

Defendant excludes itself from such other institutions treating students fairly, equitably, and as

required by the law. And for some students and families, Defendant does so based on outdated

financial aid equations and collections, without taking into account disruptions to family income,

a particular concern now where layoffs and furloughs are at record levels.

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         4.       In response to COVID-19, on or about March 11, 2020, Brandeis decided to

migrate all, or substantially all, classes online. Larger lectures were moved online on March 16,

2020 and all courses would transition online after March 20, 2020 and be conducted online for

the remainder of the Spring 2020 semester.

         5.       Despite the provision of an entirely remote undergraduate and graduate studies

experience, Defendant refuses to refund or reimburse Plaintiffs and similarly situated Brandeis

students the tuition and fees they paid for the promised on-campus instruction, services they are

not being provided, events they cannot attend, and programs and activities that have been

curtailed, discontinued, or closed.

         6.       Essentially, students have paid Brandeis for in-person instruction that is no longer

available to them, access to buildings they can no longer enter, technology, programs and

services that Brandeis is no longer providing, and activities that are no longer available. Brandeis

is thus profiting from COVID-19 while further burdening students and their families—many of

whom have been laid off, become ill, lost loved ones, or are otherwise already bearing the brunt

of the COVID-19 pandemic. The result is an enormous windfall to Brandeis. Both contract and

equity demand that Brandeis disgorge its ill-gotten funds.

         7.       Defendant’s actions have financially damaged Plaintiffs and Class Members.

Plaintiffs bring this action because Plaintiffs and Class Members did not receive the full value of

the services paid, and did not receive the benefits of in-person instruction. Plaintiffs and Class

Members lost the benefit of their bargain and/or suffered out-of-pocket loss, and are entitled to

recover compensatory damages, and attorney’s fees and costs. This lawsuit seeks disgorgement

and monetary damages in the amount of prorated, unused amounts of tuition, room and board,




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and fees that Plaintiffs and the other Class Members paid, the benefits of which will not be

provided by Defendant.

                               II.    JURISDICTION AND VENUE

         8.       This Court has jurisdiction over the subject matter presented by this Complaint

because it is a class action arising under the Class Action Fairness Act of 2005 (“CAFA”), Pub.

L. No. 109-2, 119 Stat. 4 (2005), which explicitly provides for the original jurisdiction of the

Federal Courts of any class action in which any member of the Class is a citizen of a State

different from any Defendant, and in which the matter in controversy exceeds in the aggregate

sum of $5,000,000.00, exclusive of interest and costs. Plaintiffs allege that the total claims of

individual Class Members in this action are in excess of $5,000,000.00 in the aggregate,

exclusive of interest and costs, as required by 28 U.S.C. §§ 1332(d)(2) and (6). Therefore,

diversity of citizenship exists under CAFA as required by 28 U.S.C. § 1332(d)(2)(A).

Furthermore, Plaintiffs allege that more than two-thirds of all of the members of the proposed

Class in the aggregate are citizens of a state other than Massachusetts, where this action is

originally being filed, and that the total number of members of the proposed Class is greater than

100, pursuant to 28 U.S.C. § 1332(d)(5)(B).1

         9.       Venue is appropriate in this District because Defendant is located within the

District of Massachusetts. And on information and belief, events and transactions causing the

claims herein, including Defendant’s decision-making regarding its refund policy challenged in

this lawsuit, has occurred within this judicial district.




1
 About 29.3% of the students attending Brandeis University come from within Massachusetts.
https://www.collegefactual.com/colleges/brandeis-university/student-life/diversity/.

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                                           III.    PARTIES

  A.       Plaintiffs

         10.      Plaintiff John Doe (“Plaintiff Doe”) is a resident of the State of Massachusetts.

Plaintiff Doe was enrolled as a full-time student for the Spring 2020 academic term in

Defendant’s undergraduate program.

         11.      Plaintiff Alan Thomas Omori (“Plaintiff Omori”) is a resident of the State of

Illinois. Plaintiff Omori was enrolled as a full-time student for the Spring 2020 academic term in

Defendant’s undergraduate program.

         12.      Plaintiffs were in good financial standing at Defendant, having paid in whole or in

combination tuition, fees, costs, and/or room and board charges assessed and demanded by

Defendant for the Spring 2020 term.

         13.      While Plaintiffs could have obtained their degrees online, Plaintiffs specifically

selected, and reasonably expected to receive, an in-person, in-class experience at Brandeis

University for the variety of educational experiences that only an in-person program can deliver.

         14.      With Defendant’s campus closure, cancellation of campus events, suspension of

many campus services and programs, and transition to exclusively online instruction during the

Spring 2020 semester, Plaintiffs lost access to the on-campus instruction, opportunities, facilities,

and services for which Plaintiffs had bargained for by selecting—and paying tuition and fees

for—in-person courses and experiences.

         15.      For example, Plaintiffs lost vital access to campus libraries and important

facilities for studies, including classrooms, study spaces, studio spaces, and lounges that were

bargained for by selecting in-person instruction.

         16.      Plaintiffs paid Defendant for on-campus courses and the unique opportunities that

come with it, including the ability to communicate directly with professors, utilize campus

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facilities and laboratories, attend office hours, and work through issues in-person. However,

following the campus closure and transition to online courses, these benefits disappeared.

         17.      As a result, while Plaintiffs and Class Members paid for students’ in-person

access to renowned faculty as essential to the Brandeis experience, Defendant excluded students

from such access for the Spring 2020 and Fall 2020 semesters.

    B.     Defendant

         18.      Defendant Brandeis University is a private institute of higher education, located at

415 South Street, Waltham, MA 02453. Defendant provides Class Members with campus

facilities, in-person classes, as well as a variety of other facilities for which Defendant charged

Plaintiffs and the Class Members.

                                            IV.     FACTS

    A.     Background

         19.      Founded in 1948, Brandeis has a current enrollment of approximately 5,800

students across a variety of undergraduate and graduate areas of study.

         20.      Since its founding, Brandeis has predominantly provided students with an on-

campus, in-person educational experience.

         21.      For the fiscal year ending June 30, 2019, Brandeis’ endowment had an

approximate value of $1.074 billion. Brandeis also reported operating revenues and other support

of approximately $356.4 million, which included $168.6 million in revenue from tuition and fees

along with another $43.3 million in residence hall and dining fees.

         22.      Upon information and belief, Defendant received $3,198.465 in federal stimulus

under the CARES Act.2



2
    https://www2.ed.gov/about/offices/list/ope/allocationsforsection18004a1ofcaresact.pdf

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          23.      From this federal bailout, Defendant has allocated only $1,599,232.50 to students

(the bare minimum required by law), apparently intending to keep the remaining $1.599 million

for itself.3

          24.      Since 1994, Brandeis has raised “more than $1.5 billion from alumni, parents,

friends, trustees, the Brandeis National Committee, and corporations and foundations.”4

          25.      Moreover, Brandeis has received multiple national awards for overall

performance in fundraising, with Brandeis’ Institutional Advancement Division recognized “as

one of the nation’s premier fundraising operations by the Council for Advancement and Support

of Education (CASE), the industry’s leading professional association.”5

          26.      A significant focus of Defendant’s efforts to obtain and recruit students pertains to

the campus experience it offers along with face-to-face, personal interaction with skilled and

renowned faculty and staff, a wide array of in-person services, opportunities, and extra-curricular

activities, state-of-the-art facilities, and much more.

          27.      A few examples of such efforts to promote that experience follow.

          28.      Brandeis is a residential university where 78 percent of students live on campus

all four years.6

          29.      Defendant recognizes that “[a] distinct hallmark of a Brandeis education is

experiential learning,” which “takes many forms and encompasses a variety of hands-on

experiences, including research, fieldwork, community-engaged learning, internships and more.

A flexible curriculum that allows students to pursue multiple academic interests, and highly


3
    https://www.brandeis.edu/student-financial-services/financial-aid/30-cares-act.html.
4
    https://alumni.brandeis.edu/news-events/news-archive/winship-retire.html.
5
    https://alumni.brandeis.edu/news-events/news-archive/case-award-2018.html.
6
    https://www.brandeis.edu/admissions/studentlife/housing.html.

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accessible faculty members who are leaders in their fields, help Brandeis students make the most

of their college experience.”7

          30.     Brandeis notes that its “[u]ndergraduate courses are taught by the same world-

class scientists, scholars and artists who teach in the graduate programs and make Brandeis a

leader in fields as varied as neuroscience, American history, theater arts and business,” stressing

that “[t]hese faculty members will know you as a person, not a number. Your professors will be

able to assess your strengths (and weaknesses) and help you develop both as a student and a

person.”8

          31.     Moreover, Brandeis particularly emphasizes the interpersonal connections among

students, faculty, and staff, emphasizing that “because Brandeis is smaller than other research

universities, it is also marked by a particular connectivity. Faculty, students and staff engage

with others across departments, disciplines and interests,” resulting “in an academic and social

environment that is both deeply curious and collaborative.”9

          32.     Students in the art program are able to “build an accomplished portfolio that

generates an interdisciplinary exploration from studio offerings” and includes an opportunity for

students to “develop a year-long portfolio of personal work.”10 Interacting with the art faculty

“fosters students’ abilities to make informed judgments and push themselves beyond

expectations.”11




7
    https://www.brandeis.edu/admissions/academics/index.html.
8
    https://www.brandeis.edu/admissions/academics/research.html.
9
    https://www.brandeis.edu/brand/narrative/index.html.
10
     https://www.brandeis.edu/fine-arts/undergraduate/studio-art-minor/index.html.
11
     https://www.brandeis.edu/fine-arts/undergraduate/index.html.

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           33.    As a result, Brandeis ordinarily “features a kind of connectedness you don’t find

elsewhere.”12

     B.     Plaintiffs Contracted With Defendant For On-Campus Classes

           34.    For the Spring 2020 semester, Plaintiffs contracted with Brandeis—and paid a

premium—specifically for on-campus courses and programs.

           35.    While many schools nationwide offer and highlight remote learning capabilities

as a primary component of their efforts to deliver educational value (see, e.g., Western

Governors University, Southern New Hampshire University, University of Phoenix-Arizona),

Defendant is not such a school.

           36.    In fact, Brandeis’ Spring 2020 course listings show that classes were offered in-

person at specific locations on campus.13 For example, the sample screenshots below show

classes such as Twentieth-Century and Contemporary Latin American Art scheduled to meet in

the Golding Judaica Center Room 101, Fine Arts Senior Studio II scheduled to meet in the

Epstein Building Senior Art Studio [Exhibit A], Louis Brandeis: Law, Business and Politics

meeting in the Golding Judaica Center Room 110, and Communication and Media meeting in

Olin-Sang American Civilization Center Room 101. [Exhibit B].




12
     Id.
13
     http://registrar-prod.unet.brandeis.edu/registrar/schedule/search/.



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          37.     Brandeis’ 2019–2020 University Bulletin (“Bulletin”) evidences the terms of the

contract between Brandeis and Plaintiffs and Class Members.14 [Exhibit C].

          38.     As the Bulletin lays out, courses provided on-campus routinely offer students

advantages and opportunities that are only available through on-campus, in-person instruction.

For example, the Bulletin’s descriptions for on-campus courses refer to: “hands-on experience”15

“hands-on exposure,”16 “experiential learning,”17 access to “state-of-the-art studios,”18 “practical

experience” in laboratory courses,19 and dozens of other references to benefits exclusive to on-

campus instruction. [Exhibit D].




14
     Ex. C located at https://www.brandeis.edu/registrar/bulletin/2019-2020/overview/index.html/.
15
   Ex. D incorporated into the Bulletin via link at
https://www.brandeis.edu/registrar/bulletin/2019-2020/arts-sciences/index.html/; also available
at https://www.brandeis.edu/business/.
16
     Ex. D also available at https://www.brandeis.edu/fine-arts/.
17
     Ex. C located at https://www.brandeis.edu/registrar/bulletin/2019-2020/overview/index.html/.
18
   Ex. D also available at https://www.brandeis.edu/fine-arts/undergraduate/studio-
art/index.html/.
19
     Ex. D also available at https://www.brandeis.edu/chemistry/.

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          39.     The Bulletin promotes student’s rights to access Brandeis’ facilities including “the

Shapiro Campus Center, Usdan Student Center, the Sherman Student Center and the Gosman

Sports and Convocation Center.”20

          40.     The Bulletin further emphasizes student’s rights to interact in-person with

students in classrooms noting “you will encounter innovative thinkers with diverse points of

view — not just in front of the class, but in the seat beside you.”21

          41.     Perhaps because it has long taken pride in and marketed its unique on-campus

academic experience, Brandeis has been relatively hesitant to develop online courses and

programs or online-only programs. Brandeis offered limited fully online part-time graduate

programs during the 2019–2020 school year. These online-only offerings are separately

marketed and must be affirmatively selected, distinct from the in-person, on-campus educational

experience chosen by the vast majority of Brandeis students.

          42.     Plaintiffs selected on-campus courses and paid for the in-class and educational

experiences that only an in-person program can deliver, such as the ability to access important

university facilities, services, and faculty in-person.

          43.     Defendant’s usual and customary practice when students register for on-campus

courses and pay tuition for such courses is to provide on-campus instruction. Plaintiffs’ and

Class Members’ reasonable expectation when registering for classes for the Spring 2020

semester was that those classes would be provided on-campus, consistent with Defendant’s usual

and customary practice.




20
     Ex. C located at https://www.brandeis.edu/registrar/bulletin/2019-2020/overview/index.html/.
21
     Ex. D also available at https://www.brandeis.edu/business/undergraduate/index.html/.

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          44.     Plaintiffs and Class Members had the reasonable expectation that Defendant

would provide the in-person educational experience and use of its facilities provided in

Defendant’s publications, including but not limited to the Bulletin, handbooks, brochures,

advertisements, and other promotional materials.

          45.     The combination of the express terms of the Bulletin, Defendant’s publications,

and Defendant’s usual and customary practice constituted an offer to any students attending

Brandeis to register for on-campus classes. If accepted by Plaintiffs and Class Members who did

in fact register for such on-campus classes, in accordance with Brandeis’ policies and procedures

and usual custom and practice, and who timely paid tuition for those on-campus classes,

Defendant became contractually obligated to provide on-campus classes to Plaintiffs and Class

Members.

          46.     In light of the terms laid out in the Bulletin, Defendant’s publications, and

Defendant’s usual and customary practice, Plaintiffs registered for on-campus courses for the

Spring 2020 semester. Defendant accepted their registration as an on-campus student taking on-

campus courses and charged Plaintiffs the following for the Spring 2020 semester: $28,690 for

undergraduate tuition and $956 in undergraduate fees.22 Total charges for a standard residence

hall room (double-occupancy) and a 12-meal per week board contract for the 2019–2020

academic year assessed at $7,945.23 On a per course basis, Defendant assessed undergraduate

students at $6,918 ($1,729 per credit, per term). Additionally, art courses require a $75 studio fee

per semester.



22
   https://www.brandeis.edu/registrar/bulletin/provisional/arts-sciences/tuition.html. Notably,
“[l]ibrary privileges and use of athletic facilities for the academic year are included in the full
tuition fee.” Id.
23
     https://www.brandeis.edu/registrar/bulletin/provisional/arts-sciences/tuition.html.

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           47.    Defendant did the same for graduate students as well depending on the course of

study. For example, for students in Brandeis’ Graduate School of Arts and Sciences, Defendant

charges full-time resident students at $25,970 per term, while charging special students,

postbaccalaureate students in mathematics, and part-time resident students $6,492 per course.24

As another example, Defendant charged full-time students in its MBA program $52,250 per

semester and part-time MBA students at the rate of $5,992 per course.25

           48.    Such charges for study are significantly higher than online-only programs,

including the limited online courses that Defendant offers.

           49.    Schools delivering an online-only educational experience assess significantly

discounted rates for delivering such educational services. For example, Western Governor’s

University charges flat-rate tuition at $3,370 per term while Southern New Hampshire University

charges $960 per course for online undergraduate programs and $1,881 per course for online

graduate programs.

           50.    As to Defendant, for the Spring 2020 term, Defendant offered limited online

graduate degree programs, charging such students less per credit hour for online courses.

Through its Rabb School of Continuing Studies, Division of Graduate Professional Studies,

Defendant offers 13 Master of Science degrees in a variety of courses of study.26 For the Spring

2020 term, Defendant charged students $3,535 per three-credit course.27

           51.    Plaintiffs and Class Members paid Brandeis tuition and fees for on-campus

courses—and the benefits, services, opportunities, and facilities that came with them—for the


24
     https://www.brandeis.edu/registrar/bulletin/provisional/gsas.html.
25
     https://www.brandeis.edu/registrar/bulletin/provisional/heller.html.
26
     https://www.brandeis.edu/registrar/bulletin/provisional/rabb.html.
27
     Id.

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Spring 2020 semester. In registering and paying Brandeis tuition and fees for the Spring 2020

semester, Plaintiffs and Class Members understood, per the course Bulletin, Brandeis’

publications, and Brandeis’ usual and customary practice, that the classes they bargained and

paid for would be administered on-campus for the duration of the semester, and that they would

get a full semester’s worth of access to on-campus facilities, services, and resources.

         52.      However, as set forth further below, since March 11, 2020, Plaintiffs have not

been permitted to attend classes on-campus or had access to campus benefits.

  C.       The Novel Coronavirus Shutdowns And Defendant’s Campus Closure

         53.      On December 31, 2019, governmental entities in Wuhan, China confirmed that

health authorities were treating dozens of cases of a mysterious, pneumonia-like illness. Days

later, researchers in China identified a new virus that had infected dozens of people in Asia,

subsequently identified and referred to as the novel coronavirus, or COVID-19.

         54.      By January 21, 2020, officials in the United States were confirming the first

known domestic infections of COVID-19.

         55.      Due to an influx of thousands of new cases in China, on January 30, 2020, the

World Health Organization officially declared COVID-19 as a “public health emergency of

international concern.”

         56.      By March 11, 2020, the World Health Organization declared COVID-19 a

pandemic.

         57.      On March 11, 2020, Defendant officially announced that it would transfer all

classes, regardless of size, to an online only format. By March 16, 2020, Defendant directed that




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all Brandeis classes with more than 100 students will move online, with the last day of in-person

instruction for all classes, regardless of size set for March 20, 2020.28

           58.    And when the March 23–25 portion of Defendant’s Spring Recess ended, “all

undergraduate and graduate classes will move online for the remainder of the academic

semester.”29

           59.    Moreover, “[e]vents or meetings with more than 20 attendees, on-campus or off-

campus, must be postponed, cancelled or ‘virtualized.’”30

           60.    By March 13, 2020, Defendant encouraged students to move out of campus

housing as soon as practical and that all students must move out of residents halls by March 25,

2020, other than those granted exceptions to stay in the halls.31

           61.    On March 16, 2020, Defendant closed its library, along with its Gosman Sports

and Athletics center for all recreational activities.32

           62.    Though the reasons for such closures are justified, the fact remains that such

closures and cancellations present significant loss to Plaintiffs and the Class Members.




28
  https://www.brandeis.edu/coronavirus/campus-updates/2020-03-11-covid-19-update-changes-
classes-operations.html.
29
     Id.
30
     Id.
31
  https://www.brandeis.edu/coronavirus/campus-updates/2020-03-13-covid-19-important-
community-update.html.
32
  https://www.brandeis.edu/coronavirus/campus-updates/2020-03-16-covid-19-update-related-
to-leaving-campus.html.

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  D.       Defendant’s Refusal to Issue Tuition, Fee, and Room and Board Refunds
           Constitutes a Breach of Contract.

         63.      Moving classes online barred students from the in-person courses and access to

facilities bargained for and paid for by Plaintiffs and Class Members and promised to be

delivered by Defendant.

         64.       Plaintiffs and Class Members were provided with an online substitute for the

hands-on, in-person coursework for which they contracted—and for which they paid.

         65.      Yet despite providing students with only online educational experiences that are

vastly different from what Plaintiffs and Class Members contracted and paid for, Brandeis has

refused to provide students with prorated reimbursements of tuition and fees.

         66.      The remote, online learning classes offered to Spring 2020 students since March

deprived students of in-person learning from their peers and school faculty and the on-campus

experience for which they had contracted.

         67.      The move to these remote classes also deprived students of access to the facilities,

materials, and opportunities only offered on Brandeis’ physical campus, including laboratory and

research experience, use of on campus facilities, such as the art studios, gym, and libraries, and

use of on-campus services and events such as sporting events, end-of-year programs, lectures,

and various student services.

         68.      The online classes Plaintiffs and their peers have been provided are not equivalent

to the in-person, campus experience that Plaintiffs and other Brandeis students chose for their

university education. The tuition and fees that Defendant charged were predicated on access to,

constant interaction with, and feedback from peers, mentors, professors, and guest lecturers;

access to technology, libraries, and laboratories; opportunities to attend or participate in spectator




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sports and athletic programs; access to student government and health services; and participation

in extracurricular groups and learning, among other things.

         69.      College students across the country have offered apt descriptions of the loss they

have experienced as a result of the pandemic, highlighting the disparity between students’

bargained for educational experience and the experience that colleges and universities, including

Defendant, now provide.

         70.      For example, as reported in The Washington Post, one student “wonders why he

and others . . . are not getting at least a partial tuition refund. Their education, as this school year

ends in the shadow of a deadly pandemic, is nothing like the immersive academic and social

experience students imagined when they enrolled. But tuition remains the same: $27,675 per

semester . . . ‘Our faculty are doing a good job of working with us,’ said Patel, 22, who is from

New Jersey. ‘But at the end of the day, it’s not the same as in-person learning . . . It shouldn’t

just be a part of the business model where, no matter what happens, you have to pay the same

amount. The cost needs to reflect some of the realities.’”33

         71.      As another example, as reflected in a Change.org petition, with nearly 5,000

supporters, students at another major university highlight the loss experienced by students: “As a

result of the COVID-19 global pandemic crisis, Governor Pritzker has declared a state of

emergency in Illinois. In response, Northwestern University made the sensible decision to offer

all Spring 2020 courses online for the start of the quarter and will likely extend this to the rest of

the quarter as the situation worsens. While this is certainly the right call to ensure the health and

safety of all students, Northwestern’s tuition and fees do not accurately reflect the value lost by



33
  https://www.washingtonpost.com/education/2020/04/16/college-students-are-rebelling-
against-full-tuition-after-classes-move-online/

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switching to online education for potentially an entire term. For the following reasons, we are

seeking a partial refund of tuition and full refund of room and board for the Spring 2020 quarter.

Since Northwestern is a top private university, the estimated annual cost of attendance of

$78,654 goes towards a comprehensive academic experience that cannot be fully replicated

online. Due to the COVID-19 crisis, students paying for the Northwestern experience will no

longer have access to invaluable face-to-face interaction with faculty, resources necessary for

specific programs, and access to facilities that enable learning.”34

           72.    Another university’s student newspaper reflects another example: “At this time,

most of the campus and dorms need not be rigorously maintained. No events will be held, nor

speakers hosted. The world-class education that consists in having opportunities to work and

interact with academics and peers (not to mention the vast numbers of innovators, creators,

doctors, organizers, and more that congregate on our campus) will no longer be provided.”35

           73.    A July 2020 survey of 13,606 college students in the United States found that

75% of students are unhappy with their online classes, and 93% percent believe that if classes are

provided online, tuition should be lowered.36 Students are so disappointed in online instruction

that more than one-third are considering withdrawing from school entirely.37

           74.    Brandeis students echo such concerns.

           75.    For example, the Brandeis Hoot compiled various quotes from Brandeis students

“to give their thoughts surrounding the latest developments” related to the virus:



34
     https://www.change.org/p/northwestern-university-tuition-fees-reduction-for-spring-2020.
35
     https://www.chicagomaroon.com/article/2020/3/19/uchicago-lower-tuition-spring-2020/.
36
  https://www.cnbc.com/2020/07/27/93percent-of-college-students-say-tuition-should-be-cut-
for-online-classes.html.
37
     Id.

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                  “Don’t cancel graduation. Don’t cancel senior week. Don’t cancel
                  Springfest. Or, refund me half my tuition.”

                  ***

                  “I would like some tuition back or funding for my work, because
                  online classes mean I physically will be unable to continue my
                  studies (my painting thesis—as I will lose studio access and
                  resources).”38

          76.     And as reflected in an editorial from the Brandeis Hoot’s editorial board:

                  We, the editorial board of The Brandeis Hoot, feel the weight of
                  the impact of the university’s decision to transition to online
                  learning. This change to our lives and our college careers will no
                  doubt affect our memory of Brandeis and our time here, especially
                  for the Class of 2020 as they approach graduation. The sadness and
                  anger that students feel for the loss of events, practices and
                  performances is undeniable. So much work and effort was put into
                  these endeavors, and we respect how difficult it is to have to give
                  up on them.39

          77.     Professors and administrators have also expressed dismay with schools charging

students full tuition and fees for substantially inferior online substitutes. For instance, University

of Pennsylvania Professor Jonathan Zimmerman, who specializes in the history of education,

opined that “[m]ost online instruction isn’t as effective as the traditional kind.”40 Alison Byerly,

President of Lafayette College, which is offering a 10% discount to students who study from

home in the 2020–2021 academic year, similarly stated: “If you don’t have access to the library,

to campus facilities, if you’re not going to be on campus with students, you shouldn’t have to

pay full price.”41 Peter Kastor, a Professor and Chair of the History Department at Washington


38
     http://brandeishoot.com/2020/03/13/class-of-2020-responds-to-online-transition/.
39
     http://brandeishoot.com/2020/03/13/on-the-universitys-covid-19-response/.
40
  https://www.inquirer.com/opinion/commentary/coronavirus-remote-distance-learning-online-
degrees-20200408.html.
41
  https://abcnews.go.com/US/petitions-lawsuits-students-demand-lower-tuition-online-
instruction/story?id=72105974.

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University in St. Louis, commented, “. . . [students] had already rejected online education when

they chose a traditional campus experience.” 42

         78.      As said in New York Magazine, “Universities are still in a period of consensual

hallucination with each saying, ‘We’re going to maintain these prices for what has become,

overnight, a dramatically less compelling product offering.’”43

         79.      While Brandeis has adjusted student accounts with prorated credits for room and

board based on the date students move out, Defendant has refused to give a prorated refund for

fees paid for student services students cannot use because those services were curtailed,

eliminated, or because the student followed the university’s instruction to leave the campus and

return home.

         80.      Defendant has also refused to provide any tuition adjustments, despite the

significant changes Defendant implemented to student life, learning, and programs.

         81.      In a list of FAQ’s, Brandeis offers the following policy as support for its refusal to

provide tuition adjustments:

                  Will my spring tuition be refunded because courses are no
                  longer in person?

                  Brandeis is continuing to provide all courses that were underway in
                  the spring semester. Our students are receiving course credit, and
                  making the same progress toward their degrees as they would
                  otherwise. The reality in which we are currently living is not one
                  that anyone anticipated; Brandeis faculty are continuing to work
                  with all students to provide them with the attention and academic
                  material that is the hallmark of a Brandeis education despite the
                  current challenges.


42
  https://www.washingtonpost.com/education/2020/04/04/these-washington-university-faculty-
had-rejected-online-classes-until-coronavirus-heres-how-they-made-switch/.
43
   James D. Walsh, “The Coming Disruption,” New York Magazine, May 11, 2020, available at
https://nymag.com/intelligencer/2020/05/scott-galloway-future-of-college.html?utm_source=fb.


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                  Online education is not less expensive to provide than in-person
                  learning, and Brandeis has incurred significant unanticipated
                  expenses around this transition. The same faculty are teaching the
                  courses and the delivery mechanisms and support add challenges
                  and costs, all while the existing expenses of maintaining the
                  university’s campus remain.

                  In addition to transforming the delivery of our academic program
                  to the online environment, all of Brandeis’ student services are
                  being delivered online, from our library to our career center to our
                  spiritual life services. Because Brandeis is working hard to provide
                  students with continued access to coursework and services,
                  students will receive credit and will not experience delays in their
                  graduation dates, tuition will not be refunded for the spring
                  semester.44

          82.     Despite the fact that Brandeis students also would not get what they bargained for

in contracting for on-campus courses, opportunities, facilities, and resources, Defendant has

refused to give prorated tuition refunds or refunds for fees paid for student services that students

cannot use because those services were curtailed, eliminated, or because the student followed the

university’s instruction to leave campus and return home.

                             V.      CLASS ACTION ALLEGATIONS

          83.     Plaintiffs sue under Rule 23(a), (b)(2), and Rule 23(b)(3) of the Federal Rules of

Civil Procedure, on behalf of himself and a Class defined as follows:

                  All people paying Defendant, in whole or in part, personally and/or
                  on behalf of others, for tuition and fees, and/or room and board for
                  in-person instruction and use of campus facilities, but who were
                  denied use of and/or access to in-person instruction and/or campus
                  facilities by Defendant for the Spring 2020 academic term or any
                  subsequent term.

          84.     Excluded from the Class is Defendant, any entity in which Defendant has a

controlling interest, and Defendant’s legal representatives, predecessors, successors, assigns, and




44
     https://www.brandeis.edu/student-financial-services/faqs.html.

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employees. Further excluded from the Class is this Court and its employees. Plaintiffs reserve the

right to modify or amend the Class definition including through the creation of sub-classes if

necessary, as appropriate, during this litigation.

         85.      The definition of the Class is unambiguous. Plaintiffs are members of the Class

they seek to represent. Class Members can be notified of the class action through contact

information and/or address lists maintained in the usual course of business by Defendant.

         86.      Per Rule 23(a)(1), Class Members are so numerous and geographically dispersed

that their individual joinder of all Class Members is impracticable. The precise number of Class

members is unknown to Plaintiffs but may be ascertained from Defendant’s records. However,

given the thousands of students enrolled at Defendant in a given year, that number greatly

exceeds the number to make joinder possible. Class Members may be notified of the pendency of

this action by recognized, Court-approved notice dissemination methods, which may include

U.S. Mail, electronic mail, Internet postings, and/or published notice.

         87.      Defendant has acted or refused to act on grounds generally applicable to Plaintiffs

and the Class Members, making appropriate final injunctive relief and declaratory relief

regarding the Class under Rule 23(b)(2).

         88.      Consistent with Rule 23(a)(2), Defendant engaged in a common course of conduct

giving rise to the legal rights sought to be enforced by the Class Members. Similar or identical

legal violations are involved. Individual questions pale by comparison to the numerous common

questions that predominate. The injuries sustained by the Class Members flow, in each instance,

from a common nucleus of operative facts—Defendant’s campus closure and student evictions,

its complete transition to online classes, and Defendant’s refusal to fully refund tuition, fees,

and/or room and board.



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         89.      Additionally, common questions of law and fact predominate over the questions

affecting only individual Class Members under Rule 23(a)(2) and Rule 23(b)(3). Some of the

common legal and factual questions include:

                  a.     Whether Defendant engaged in the conduct alleged;

                  b.     Whether there is a difference in value between online distance learning

                         and live in-person instruction;

                  c.     Whether Defendant has a policy and/or procedure of denying refunds, in

                         whole or in part, to Plaintiffs and the Class Members;

                  d.     Whether Defendant breached identical contracts with Plaintiffs and the

                         Class Members;

                  e.     Whether Defendant violated the common law of unjust enrichment;

                  f.     Whether certification of any or all of the classes proposed herein is

                         appropriate under Fed. R. Civ. P. 23;

                  g.     Whether Defendant converted Plaintiffs and the Class Members money

                         paid for in-person instruction; and

                  h.     The nature and extent of damages and other remedies to which the conduct

                         of Defendant entitles the Class Members.

         90.      The Class Members have been damaged by Defendant through its practice of

denying refunds to Class Members.

         91.      Plaintiffs’ claims are typical of the claims of the other Class Members under Rule

23(a)(3). Plaintiffs are students enrolled at Defendant in the Spring 2020 term. Like other Class

Members, Plaintiffs were instructed to leave Defendant’s campus, forced to take online classes,

and has been completely or partially denied a refund for tuition, fees, and/or room and board.



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         92.      Plaintiffs and Plaintiffs’ counsel will fairly and adequately protect the interests of

the Class as required by Rule 23(a)(4). Plaintiffs are familiar with the basic facts that form the

bases of the Class Members’ claims. Plaintiffs’ interests do not conflict with the interests of the

other Class Members he seeks to represent. Plaintiffs have retained counsel competent and

experienced in class action litigation and intends to prosecute this action vigorously. Plaintiffs’

counsel has successfully prosecuted complex class actions, including consumer protection class

actions. Plaintiffs and Plaintiffs’ counsel will fairly and adequately protect the interests of the

Class Members.

         93.      The class action device is superior to other available means for the fair and

efficient adjudication of the claims of Plaintiffs and the Class Members under Rule 23(b)(3). The

relief sought per individual members of the Class is small given the burden and expense of

individual prosecution of the potentially extensive litigation necessitated by the conduct of

Defendant. It would be virtually impossible for the Class Members to seek redress individually.

Even if the Class Members themselves could afford such individual litigation, the court system

could not.

         94.      In addition under Rule 23(b)(3)(A), individual litigation of the legal and factual

issues raised by the conduct of Defendant would increase delay and expense to all parties and to

the court system. The class action device presents far fewer management difficulties and

provides the benefits of a single, uniform adjudication, economies of scale, and comprehensive

supervision by a single court.

         95.      Under Rule 23(b)(3)(C), it is desirable to concentrate the litigation of the claims

of Plaintiffs and the Class Members in this forum given that Defendant is located within this

judicial district and discovery of relevant evidence will occur within this district.



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         96.      Given the similar nature of the Class Members’ claims and the absence of

material differences in the state statutes and common laws upon which the Class Members’

claims are based, a nationwide Class will be easily managed by the Court and the parties per

Rule 23(b)(3)(D).

                                    VI.    CAUSES OF ACTION

                                               COUNT I

                                     BREACH OF CONTRACT

         97.      Plaintiffs restate and re-allege, and incorporate herein by reference, the preceding

paragraphs as if fully set forth herein.

         98.      Plaintiffs bring this count on behalf of themselves and other members of the

Class.

         99.      Plaintiffs and Class Members entered into identical, binding contracts with

Defendant by accepting Defendant’s offer to register for on-campus classes in accordance with

the terms of the Bulletin, Defendant’s publications, Defendant’s website, and Defendant’s usual

and customary practice of providing on-campus courses.

         100.     It was the reasonable expectation of Plaintiffs and Class Members and Defendant

that Defendant would provide on-campus—as opposed to online—classes and instruction, and

use of Defendant’s facilities as mutually agreed in accordance with Defendant’s usual and

customary practice of providing on-campus courses, and as provided in Defendant’s

publications, including but not limited to the Bulletin, brochures, advertisements, and other

promotional materials.

         101.     Under their contracts with Defendant, and Defendant’s usual and customary

practice of providing on-campus courses, Plaintiffs and Class Members registered for on-campus



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courses and paid Defendant tuition, fees, and/or room and board charges for Defendant to

provide in-person instruction, access to Defendant’s facilities, and/or housing services.

         102.     A material term of the bargain and contractual relationship, whether express or

implied, was that Defendant would provide on-campus courses and access to on-campus

facilities and services. Plaintiffs and Class Members have fulfilled all requirements of their

mutually agreed contracts, having followed the Bulletin’s policies, procedures, and requirements

for registering and paying for on-campus courses and access to on-campus facilities and services.

Plaintiffs and Class Members have paid Defendant for all Spring 2020 term financial

assessments.

         103.     However, Defendant has breached such contracts, failed to provide those on-

campus classes and/or services, and has not otherwise performed as obligated and required by

the contracts between Plaintiffs and Class Members and Defendant. Defendant moved all classes

to online classes, restricted or eliminated Class Members’ ability to access university facilities,

and/or evicted Plaintiffs and/or their children and Class Members from campus housing. In doing

so, Defendant has deprived and continues to deprive Plaintiffs and Class Members from the

benefit of their bargains with Defendant.

         104.     This cause of action does not seek to allege “educational malpractice.”

         105.     Plaintiffs and Class Members have been damaged as a direct and proximate result

of Defendant’s breach. The online classes provided by Defendant are objectively different from,

and less valuable than, the on-campus classes for which the parties contracted.

         106.     Plaintiffs and Class Members are entitled to damages, including but not limited to

tuition refunds, fee refunds, and/or room and board refunds.




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                                               COUNT II

                               BREACH OF IMPLIED CONTRACT

         107.     Plaintiffs restate and re-allege, and incorporate herein by reference, the preceding

paragraphs as if fully set forth herein.

         108.     Plaintiffs plead this Count in the alternative to Count I.

         109.     Plaintiffs bring this count on behalf of themselves and other members of the

Class.

         110.     Plaintiffs and Class Members entered into an implied contract by accepting

Defendant’s offer to register for on-campus classes and use of Defendant’s facilities in

accordance with Defendant’s usual and customary practice of providing on-campus courses.

         111.     Under the implied contract, Plaintiffs and Class Members registered for on-

campus courses.

         112.     It was the reasonable expectation of Plaintiffs and Class Members that Defendant

would provide them with on-campus—as opposed to online—classes and instruction and use of

Defendant’s facilities as mutually agreed and intended in accordance with Defendant’s

publications including, brochures, advertisements, and other promotional materials and

Defendant’s usual and customary practice of providing on-campus courses.

         113.     Plaintiffs and Class Members accepted and intended to use and enjoy Defendant’s

on-campus classes and facilities.

         114.     Plaintiffs and Class Members have fulfilled all expectations of their mutual

agreement, by registering and paying for on-campus courses and access to on-campus facilities

and services for the Spring 2020 semester. Plaintiffs and Class Members have paid Defendant for

all Spring 2020 semester financial assessments.



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         115.     Defendant’s website and recruitment brochures are the primary means through

which Defendant targets prospective new students and attempts to influence such students to

apply for enrollment at the University as opposed to other institutions of higher learning.

         116.     Through these publications, Defendant markets to and enrolls students into an on-

campus college experience.

         117.     Defendant’s publications are full of references to the on-campus experience,

including numerous references to student activities; campus amenities; class size and

student/teacher ratios; campus diversity; campus location and the like.

         118.     When visitors and prospective students visit the “About” section on Defendant’s

website, they are greeted with the following:45




         119.     When visitors and prospective students visit the “Student Life” webpage and

subpages on Defendant’s website, they are greeted with the words, “Keep calm and get

connected,” followed by, “Free pizza at midnight during finals. Bubble soccer. Clubs that range

from a capella groups to skydiving. If you can’t find your passion here, you can create it—and

find other Brandeisians who want to join you,” among other subsequent promises:46

                          Residence and community. Our rolling 235-acre campus isn’t defined by
                           bricks and mortar. We bring spirit and passion to everything we learn to
45
     https://www.brandeis.edu/about/index.html
46
     https://www.brandeis.edu/oncampus/index.html.

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                           do. Events like Festival of the Arts bring us together; residence hall life,
                           dining and lively discussions keep us connected.47

                                o Brandeis’ beautiful 235-acre campus offers the best of both
                                  worlds—safety and security, as well as quick and easy access to
                                  Boston. The majority of Brandeis’ 3,700 undergraduate students
                                  live on campus each year.48

                                o The Department of Community Living cultivates an inclusive,
                                  diverse, and symbiotic living and learning environment in all of
                                  our residence halls. We empower our community members to
                                  respectfully challenge each other and engage in opportunities of
                                  holistic enrichment through critical thinking, constructive
                                  dialogue, and leadership development.49

                                o At Brandeis, you will reside with diverse people who share your
                                  interests, some of whom will introduce you to new experiences,
                                  and several you will call friends for the rest of your life.50

                          Career. Create the connections and get the experience to accelerate your
                           career. Networking opportunities, funded internships and advice from
                           successful alums in your chosen profession are just some of the resume-
                           building strategies we offer.51

                                o The Hiatt Career Center assists students and alumni in
                                  developing the skills to transform their unique backgrounds,
                                  liberal arts education and experimental learning into meaningful
                                  professional futures and relationships.52

                                o In 1984 Jacob Hiatt, a Worcester businessman and member of
                                  the Brandeis Board of Trustees, endowed the Hiatt Career
                                  Development Center at Brandeis, offering students skilled
                                  professional assistance to enable them to find ways to relate their
                                  liberal arts education to future career plans.53



47
     Id.
48
     https://www.brandeis.edu/dcl/.
49
     Id.
50
     Id.
51
     https://www.brandeis.edu/oncampus/index.html.
52
     https://www.brandeis.edu/hiatt/.
53
     https://www.brandeis.edu/hiatt/about-us/index.html.

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                          Clubs and organizations. Brandeis was founded with a commitment to
                           improving the world. Every year, our students rack up 55,000 hours of
                           community service. If you’re passionate about a cause, or just looking for
                           a club – find it here.54

                                o Brandeis has more than 200 student-run clubs and organizations,
                                  including service organizations, cultural awareness groups,
                                  performing groups, spiritual and religious groups, sports and
                                  games clubs, student leadership and activism groups, student
                                  publications, a television station (BTV) and a radio station
                                  (WBRS).55

                                o As a part of our continued support of the Student Union and
                                  Union-recognized clubs and organizations, the Department of
                                  Student Activities offers various programming resources to assist
                                  student groups with their many programmatic efforts.56

                          Health and wellness. You’ll perform best academically when your body
                           and mind are in peak condition, too. Get information on mental health and
                           physical fitness, counseling services and spiritual life on campus.57

                                o [Brandeis Counseling Center is] a multicultural counseling center
                                  that responsibly and compassionately addresses the diverse
                                  psychological needs of our university students. We offer a
                                  variety of services on campus and facilitate referrals to outside
                                  resources. We are committed to social justice and dismantling
                                  systems of oppression, while fostering healing and wellness. We
                                  value the participation of all students inclusive of all intersecting
                                  identities.58

                                o The Center for Spiritual Life offers a safe space for students to
                                  explore their spirituality and find their place in the world, on
                                  their terms. Whether students are rooted in a particular faith
                                  tradition or searching for answers to fundamental human
                                  questions, we are here. We have staff chaplains trained in
                                  different faith traditions who help students find a supportive



54
     https://www.brandeis.edu/oncampus/index.html.
55
     https://www.brandeis.edu/clubs/.
56
     https://www.brandeis.edu/student-activities/clubs-organizations/club-support/index.html.
57
     https://www.brandeis.edu/oncampus/index.html.
58
     https://www.brandeis.edu/counseling/.

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                                   community, access a non-judgmental spiritual mentor, and find
                                   opportunities to serve others.59

          120.    On the “Admissions & Aid” section of Defendant’s website, Defendant

recognizes that, “Choosing a college (education) is a really big decision. There's so much to

think about: size, location, campus community, professors, career services, majors, clubs. The

good news is that the most important qualities of a Brandeis education never change: academic

rigor, a welcoming, diverse community, innovation in teaching and learning.”60

          121.    It is clear that Defendant offered to provide live, in-person education, together

with a full on-campus experience and that members of the Tuition Class accepted that offer by

paying tuition and attending classes during the beginning of the Spring 2020 semester.

          122.    However, Defendant breached the implied contract, failed to provide those on-

campus classes and/or services, and has not otherwise performed as obligated and required by

the implied-in-fact contract between Plaintiffs and Class Members and Defendant. Defendant

moved all classes to online classes, restricted or eliminated Class Members’ ability to access

university facilities, and/or evicted Plaintiffs and Class Members from campus housing. In doing

so, Defendant has deprived and continues to deprive Plaintiffs and Class Members from the

benefit of their bargains with Defendant.

          123.    Plaintiffs and Class Members have been damaged as a direct and proximate result

of Defendant’s breach. The online classes provided by Defendant are objectively different from,

and less valuable than, the on-campus classes for which the parties entered into an implied

contract. Plaintiffs and Class Members are entitled to damages, including but not limited to

tuition refunds, fee refunds, and/or room and board refunds.


59
     https://www.brandeis.edu/spiritual-life/.
60
     https://www.brandeis.edu/attending/index.html.

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                                               COUNT III

                                      UNJUST ENRICHMENT

           124.   Plaintiffs restate and re-allege, and incorporate herein by reference, the preceding

paragraphs as if fully set forth herein.

           125.   Plaintiffs plead this Count in the alternative to Counts I and II.

           126.   Plaintiffs bring this count on behalf of themselves and other members of the

Class.

           127.   To the extent Defendant contends that the Bulletin permits it to unilaterally and

without notice change the terms under which Plaintiffs and Class Members were to receive

instruction—from on-campus to online—the promises made by Defendant to Plaintiffs and Class

Members to provide on-campus instruction were illusory and no contract exists between the

parties.

           128.   Plaintiffs and Class Members directly conferred a benefit upon Defendant in the

form of monies paid for tuition for Spring Semester 2020 and following semesters in exchange

for certain service and promises. Tuition and fees for Spring Semester 2020 and following

semesters were intended to cover in-person educational services and access to campus facilities,

not a virtual campus and online courses.

           129.   Defendant knowingly accepted the benefits conferred upon it by Plaintiffs and

Class Members.

           130.   Defendant appreciated or knew of the non-gratuitous benefits conferred upon it by

Plaintiffs and members of the Class.

           131.   Defendant voluntarily accepted and retained the non-gratuitous benefits conferred

by Plaintiffs and Class Members, with full knowledge and awareness it would be unjust and

inequitable to retain the benefit provided by Plaintiffs and Class Members for in-person

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instruction, access to Defendant’s facilities and housing services under the circumstances

because Defendant moved all classes online, restricted or eliminated Plaintiffs’ and Class

Members’ ability to access university facilities, and/or evicted Plaintiffs and Class Members

from campus housing.

         132.     Defendant has retained this benefit, even though it ceased providing the full

education, experience, and services for which the tuition and fees were collected.

         133.     As a result of closing campus and moving classes online, Defendant saved

significant sums of money in the way of reduced utility costs, reduced maintenance and staffing

requirements, reduced or eliminated hours for hourly employees, reduced or eliminated hours for

paid work study students, and otherwise.

         134.     Simply put, it is significantly cheaper to operate a remote, on-line campus than a

fully open physical campus.

         135.     Due to Defendant’s unjust and inequitable actions, Plaintiffs and Class Members

are entitled to refunds for tuition, fees, and/or room and board.

         136.     Defendant knew Plaintiffs enrolled at Defendant and paid Defendant non-

gratuitous benefits for a comprehensive academic experience, including in-person classes,

opportunities to network with students and professors in-person, access to campus buildings and

dormitories, and to avail themselves of school programs and events.

         137.     Retaining the non-gratuitous benefits conferred upon Defendant by Plaintiffs and

Class Members under these circumstances made Defendant’s retention of the non-gratuitous

benefits unjust and inequitable.

         138.     This is particularly true where, as here, Defendant’s campus is supported by

millions of dollars in endowment funds, while its students, upon information and belief, do not



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have access to such immense financial resources, and further where, upon information and belief,

a substantial portion of its students have incurred substantial debt to finance an

educational experience that they did not receive.

         139.     At the same time, Defendant received significant aid from the federal

government, of which Defendant has retained in excess of $1.59 million for itself, as opposed to

passing it along to students.

         140.     It would be unjust and inequitable for Defendant to retain benefits in excess of the

services it provided, and Defendant should be required to disgorge any tuition and fees that

exceed the value of online education from March 11, 2020 through the remaining sessions and

semesters where Defendant failed to provide a live in-person, on-campus academic experience.

                                              COUNT IV

                                            CONVERSION

         141.     Plaintiffs restate and re-allege, and incorporate herein by reference, the preceding

paragraphs as if fully set forth herein.

         142.     Plaintiffs bring this count on behalf of themselves and other members of the

Class.

         143.     Plaintiffs and the Class Members have an undisputed right to receive educational

services, activities, and access Defendant’s facilities for the Spring 2020 term. Plaintiffs and the

Class Members obtained such rights by paying Defendant specific amounts of money for tuition,

fees, and/or room and board and by otherwise remaining in good standing with Defendant.

         144.     Defendant wrongfully exercised control over and/or intentionally interfered with

the rights of Plaintiffs and Class Members by effectively closing its campus to in-person

education and switching to an online-only format, discontinuing paid-for services, and evicting

students from campus housing. All the while, Defendant has unlawfully retained the monies

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Plaintiffs and the Class Members paid Defendant as well as barred Plaintiffs and the Class

Members from Defendant’s facilities.

         145.     Defendant deprived Plaintiffs and the other Class Members of the rights and

benefits for which they paid Defendant tuition, fees, and/or room and board including access to

Defendant’s campus and in-person educational services, and access to its classrooms, libraries,

student centers, dining halls, and dorms.

         146.     Plaintiffs and/or Class Members have requested and/or demanded that Defendant

issue refunds.

         147.     Defendant’s interference with the rights and services for which Plaintiff and

members of the Class paid damaged Plaintiffs and Class Members, in that they paid for rights,

benefits, services, and/or facility access, but Defendant has deprived Plaintiffs and Class

members of their rights, benefits, services, and/or facility access.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs and Class Members request that the Court enter an order or

judgment against Defendant including:

         A.       Certification of the action as a Class Action under Rules 23(b)(2) and 23(b)(3) of

the Federal Rules of Civil Procedure, and appointment of Plaintiffs as Class Representative and

their counsel of record as Class Counsel;

         B.       Damages in the amount of unrefunded tuition, fees, and/or room and board;

         C.       Actual damages and all such other relief as provided under the law;

         D.       Pre-judgment and post-judgment interest on such monetary relief;

         E.       Other appropriate injunctive relief as permitted by law or equity, including an

order enjoining Defendant from retaining refunds for tuition, fees, and/or room and board;

         F.       The costs of bringing this suit, including reasonable attorney’s fees; and

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         G.       All other relief to which Plaintiffs and members of the Class may be entitled by

law or in equity.

                                          JURY DEMAND

         Plaintiffs demand trial by jury on their own behalf and on behalf of Class Members.

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Dated: October 29, 2020              Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I, Kristie LaSalle, hereby certify that the foregoing document filed through the ECF

system will be sent electronically to the registered participants as identified on the Notice of

Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered

participants.


Dated: October 29, 2020                       /s/ Kristie LaSalle
                                              Kristie LaSalle (BBO #692891)




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